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 1                                             APPENDIX OF EXHIBITS
 2                                          United States v. Espinoza-Morales
 3                                                     08CR1271-IEG
 4

 5 Exhibit A, Reporter’s Partial Transcript of the Proceedings, dated January 11, 2007 . . . . . . . . . . . . . . . 1

 6 Exhibit B, Reporter’s Transcript of Proceedings, dated January 11, 2007 . . . . . . . . . . . . . . . . . . . . . . . . 34

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